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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA             :
                                     :
                                     :
     v.                              :       CASE NO. 3:12CR105(RNC)
                                     :
                                     :
TYRELL GARY                          :
             RECOMMENDED RULING AFTER COMPETENCY HEARING

     By motion dated June 4, 2012, counsel for defendant Tyrell

Gary requested that the court authorize funds for an expert

witness to examine defendant=s competency to stand trial.                (Doc.

#113.)    The court granted that request on December 6, 2012.

(Doc. #398.)     Dr. Taiye Ogundipe, a fellow at the Yale Law and

Psychiatry program in New Haven, CT, conducted that evaluation

on October 17, 2012 and issued an evaluation report dated

November 20, 2012.    (Doc. #461.)       District Judge Robert N.

Chatigny referred the case to the undersigned pursuant to 28

U.S.C. § 636(b)(1)(B) to conduct a competency hearing.              (Doc.

#400.)

     Pursuant to 18 U.S.C. § 4241(c), the court held a

competency hearing on January 10, 2013.         (Doc. #460.)        No

witnesses were called.       The parties jointly submitted Dr.

Ogundipe=s evaluation report as an exhibit.          (Doc. 461.)      This

evidence supports a finding that the defendant "is presently

suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the
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nature and consequences of the proceedings against him or to

assist properly in his defense."       18 U.S.C. § 4241(d).

    For this reason, the undersigned recommends the following

pursuant to 18 U.S.C. § 4241(d).       Tyrell Gary should be

committed to the custody of the Attorney General to receive

necessary and appropriate treatment for mental illness, and for

the Bureau of Prisons to determine whether there is a

substantial probability that in the foreseeable future defendant

Tyrell Gary will attain the capacity to permit the proceedings

to go forward, for an initial period of time not to exceed four

months.   No later than four months after defendant Tyrell Gary

is received into the custody of the Bureau of Prisons, the

Bureau of Prisons should advise the court whether or not his

competency has been restored.     To assist the Bureau of Prisons

in this process, a copy of the written report of Dr. Ogundipe

should be provided to the director of the facility in which

defendant Tyrell Gary will receive treatment and evaluation.

Upon application of the defendant through counsel, to preserve

and protect his rights to due process and against self-

incrimination, the court should order that no statement,

testimony, or other evidence made or provided by defendant

Tyrell Gary during or as a result of any court-ordered

competency evaluation or treatment, no testimony or report of

any psychiatrist or other expert based on such statement,

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testimony or evidence, and no other fruits of such statement,

testimony or evidence shall be admitted in evidence or otherwise

used against defendant Tyrell Gary in any criminal proceedings

except on an issue respecting competency, or if defendant Tyrell

Gary raises his mental status as a defense, or if defendant

Tyrell Gary offers testimony inconsistent with statements made

in the course of the competency process.        Finally, the court

should propose to the Bureau of Prisons that defendant Tyrell

Gary be designated to Federal Medical Center Butner.

    Any party may seek the district court's review of this

recommendation.   See 28 U.S.C. § 636(b) (written objections to

proposed findings and recommendations must be filed within

fourteen days after service of same); Fed. R. Civ. P. 6(a), 6(d)

& 72; Rule 72.2 of the Local Rules for United States Magistrate

Judges, United States District Court for the District of

Connecticut; Thomas v. Arn, 474 U.S. 140, 155 (1985); Frank v.

Johnson, 968 F.2d 298, 300 (2d Cir. 1992).        Failure to timely

object to a magistrate judge's report will preclude appellate

review.   Small v. Sec'y of Health and Human Serv., 892 F.2d 15,

16 (2d Cir. 1989).

    A proposed Order is attached.

     SO ORDERED at Hartford, Connecticut this 11th day of
January, 2012.
                              _________/s/___________________
                              Donna F. Martinez
                              United States Magistrate Judge

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